Case 4:09-cr-00043-SPF Document 40-1 Filed in USDC ND/OK on 04/15/09 Page 1 of 2

Hall, Kathie (USAOKN) _

From: Lindsey Springer [lindsey@mindspring.com]

Sent: Wednesday, April 15, 2009 3:42 PM

To: Hail, Kathie (USAOKN); oscar@oscarstilley.com

Cc: robtBurton@aol.com; law@trsviaw.com; Snoke, Ken (USAOKN)
Subject: Re: Motions

Attachments: oled.bmp

Dear Ms. Hall, Lindsey Springer here. | would not agree to keep something unsealed private. | will agree to keep
something sealed private. The trial of this case will be a public trial and | will always side on unsealed means public and
sealed means private. As you know | have not agreed to your terms on Doc # 25 or the Court's Order # 26. | plan on
filing objection eventually. | need the information of both the affidavit, exparte hearing, and the Patterson sealed
documents to presant a Motion for a Franks Hearing. If the Court asks me to file that under seal | will. If not, then it will
be a public document. Thank you

= Original Me aa aie - ee.
From: athe (USAGKNY |), 0 ce a
To: | lindsey@mindspring.c com ; oscar@oscarstilley. com
Ce: robtBurton@aol.com ; law@trsvl aw.com ; Snoke, Ken (USAOKN)
Sent: Wednesday, April 15, 2009 11:06 AM

Subject: Motions

Mr. Springer and Mr. Stilley:

We have decided to also incorporate the “Patterson” material in the
Motion to Unseal Search Warrant Affidavit that we are preparing to file
today, therefore the Judge may rule on both matters at once. The
unsealing of both of these matters would be subject to the Protective
Order (Doc. No. 26).

Again, please advise your approval, or disapproval, by return email to me
as soon as possible.

Thank you.

Kathie M. Hall, ACP

Legal Assistant, Criminal Division
UNITED STATES ATTORNEY'S OFFICE

110 West Seventh Street, Suite 300

Tulsa, Oklahoma 74119

ATTACHMENT A
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918.382.2700 X3338

918.560.7954 Fax

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